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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

GENERAL MOTORS LLC and
GM GLOBAL TECHNOLOGY
OPERATIONS LLC,

       Plaintiffs,                                 Case No. 15-12917

vs.                                                Hon. Gerald E. Rosen

DORMAN PRODUCTS, INC. and
ELECTRONICS MANUFACTURING
COMPANY, LLC,

       Defendants.
                                         /

       OPINION AND ORDER GRANTING IN PART DEFENDANTS’
       MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT

                         At a session of said Court, held in
                      the U.S. Courthouse, Detroit, Michigan
                      on         September 30, 2016

                     PRESENT:     Honorable Gerald E. Rosen
                                  United States District Judge

                              I. INTRODUCTION

       Plaintiffs General Motors LLC and GM Global Technology Operations LLC

commenced this action in this Court on August 17, 2015, alleging that Defendants

Dorman Products, Inc. and Electronics Manufacturing Company, LLC have

violated the Copyright Act, 17 U.S.C. § 101 et seq., and the Digital Millennium
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Copyright Act (“DMCA”), 17 U.S.C. § 1201 et seq., by making and selling vehicle

control modules that contain unauthorized copies of Plaintiffs’ copyrighted

software, and by overriding the security measures used in Plaintiffs’ vehicle

control modules in order to program these modules with unauthorized copies of

Plaintiffs’ copyrighted software. This Court’s subject matter jurisdiction rests

upon Plaintiffs’ assertion of claims arising under federal copyright law. See 28

U.S.C. § 1338(a).

      Before Defendants answered or otherwise responded to the initial complaint

in this case, Plaintiffs filed an amended complaint on August 18, 2015. In lieu of

answering, Defendants have filed the present motion to dismiss Plaintiffs’

amended complaint, arguing that Plaintiffs’ “vague” and “conclusory” allegations

in support of their claims fail to meet the purportedly heightened pleading

standard adopted by the Sixth Circuit for claims of copyright infringement.

(Defendants’ Motion to Dismiss, Br. in Support at 1.) In response, Plaintiffs deny

that any such heightened pleading standard governs their claims, and they contend

that their allegations suffice to state plausible claims for relief under the Copyright

Act and the DMCA.

      Defendants’ motion has been fully briefed by the parties. Having reviewed

the parties’ briefs in support of and in opposition to Defendants’ motion, as well as

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Plaintiffs’ underlying amended complaint, the Court finds that the pertinent factual

allegations and legal issues are adequately presented in these written submissions,

and that oral argument would not assist in the resolution of this motion.

Accordingly, the Court will decide Defendants’ motion “on the briefs.” See Local

Rule 7.1(f)(2), U.S. District Court, Eastern District of Michigan. This opinion and

order sets forth the Court’s rulings on this motion.

                            II. FACTUAL BACKGROUND

      Plaintiffs General Motors LLC and GM Global Technology Operations LLC

design, manufacture, market, and distribute automobiles and automotive parts

throughout the world. Plaintiffs’ vehicles are equipped with “a number of

electronic control modules that control various systems” within the vehicle, and

one such module “is known as a Transmission Electro-Hydraulic Control Module

or TEHCM.” (Amended Complaint at ¶ 15.) These control modules run software

and other computer files owned by Plaintiff, and Plaintiffs also “provide[]

aftermarket updates to the software and other computer files that run on these

control modules.” (Id. at ¶¶ 16-17.) According to the amended complaint,

Plaintiffs hold copyrights in at least some of their software and computer files, “as

reflected in at least” the six copyright registrations listed in the amended

complaint. (Id. at ¶ 18.)

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      In addition to installing control modules in their vehicles, Plaintiffs

“provide[] aftermarket control modules for repair shops and dealerships.” (Id. at ¶

20.) Plaintiffs “also provide[] equipment and subscriptions to allow repair shops

to program and re-program control modules installed in [Plaintiffs’] vehicles.”

(Id.) Plaintiffs explain that this “aftermarket system ensures that, when a new

control module is installed in [one of their] vehicle[s], the appropriate software

and other computer files are loaded into the control module.” (Id.)

      According to the amended complaint, Defendant Dorman Products, Inc.

(“Dorman) operates an internet website on which it “offer[s] to sell vehicle control

modules with infringing copies of [Plaintiffs’] copyrighted software and other

computer files loaded on them.” (Id. at ¶ 21.) In support of this allegation, the

amended complaint includes a screenshot of a page that purportedly appears on

Dorman’s website, advertising a “Remanufactured Transmission Electro-

Hydraulic Control Module” that works with various models of Plaintiffs’ vehicles,

“come[s] pre-programmed,” and features a “[p]lug and play design” that permits it

to function immediately upon installation in the vehicle. (Id. at ¶¶ 21-23.)

Plaintiffs further allege that they purchased “a sample of a module sold by

Dorman, and confirmed that it has an unauthorized copy of [Plaintiffs’]

copyrighted software on it.” (Id. at ¶ 25.)

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         As for Defendant Electronics Remanufacturing Company, LLC (“ERC”),

Plaintiffs allege “[o]n information and belief” that this Defendant infringed their

copyrights “by, among other things, selling vehicle control modules with

infringing copies of [Plaintiffs’] copyrighted software and other computer files

loaded on them.” (Id. at ¶ 31.) Plaintiffs further allege, again on information and

belief, that ERC “obtained at least some blank modules from Dorman,

programmed them, and sold them to Dorman or to others.” (Id. at ¶ 32.)

         In support of their claim that Defendants have violated the DMCA,

Plaintiffs allege that they “utilize[] a variety of security measures to control access

to and copying of [their] copyrighted computer programs,” including a “software-

based lock” incorporated into their vehicle control modules that is designed to

“prevent unauthorized programming of the modules” and to ensure that “only

authorized users can access the modules for programming and re-programming.”

(Id. at ¶¶ 39-40.) Plaintiffs further allege that this lock “effectively controls access

to and copying of [Plaintiffs’] copyrighted control module software, because the

lock is designed to prevent people from taking [Plaintiffs’] software and making

unauthorized copies of it on the modules, where it is intended to be used.” (Id. at

¶ 41.)

         Plaintiffs charge that “[o]n information and belief, at least ERC and possibly

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both of the Defendants are defeating this security measure and accessing the

modules in order to program them with unauthorized copies of [Plaintiffs’]

copyrighted vehicle control software and related files.” (Id. at ¶ 42.) According to

the amended complaint, by defeating the security measures included in Plaintiffs’

control modules, Defendants are “able to make copies [of Plaintiffs’ copyrighted

software and related files] that they would not otherwise be able to make.” (Id.)

Plaintiffs allege that they are harmed by this conduct because, “as a result of

[Defendants’] circumvention” of the security measures employed by Plaintiffs,

“every module sold by Defendants includes an unauthorized copy of [Plaintiffs’]

copyrighted software, and this deprives [Plaintiffs] of revenue [they] would have

otherwise derived from the software.” (Id. at ¶ 45.)

                                  III. ANALYSIS

A.    The Standards Governing Defendants’ Motion

      Through the present motion, Defendants seek the dismissal under Fed. R.

Civ. P. 12(b)(6) of both of the claims asserted in Plaintiffs’ amended complaint.

When determining whether Plaintiffs’ claims are subject to dismissal under Rule

12(b)(6) for failure to state a claim, the Court must construe the complaint in a

light most favorable to Plaintiffs and accept all well-pleaded factual allegations as

true. League of United Latin American Citizens v. Bredesen, 500 F.3d 523, 527

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(6th Cir. 2007). However, “the tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions.”

Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949 (2009).

      Moreover, “[w]hile a complaint attacked by a Rule 12(b)(6) motion to

dismiss does not need detailed factual allegations, a plaintiff’s obligation to

provide the grounds of his entitlement to relief requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955,

1964-65 (2007) (internal quotation marks, alteration, and citations omitted).

Rather, to withstand a motion to dismiss, the complaint’s factual allegations,

accepted as true, “must be enough to raise a right to relief above the speculative

level,” and to “state a claim to relief that is plausible on its face.” Twombly, 550

U.S. at 555, 570, 127 S. Ct. at 1965, 1974. “A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

at 678, 129 S. Ct. at 1949.

      Defendants suggest that Plaintiffs’ claim of copyright infringement is

governed by a “higher pleading requirement,” (Defendants’ Motion to Dismiss,

Br. in Support at 6), pointing to the Sixth Circuit’s unpublished decision in

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National Business Development Services, Inc. v. American Credit Education &

Consulting, Inc., No. 07-2290, 299 F. App’x 509, 512 (6th Cir. Oct. 31, 2008), as

purportedly adopting this heightened standard. The Court agrees with Plaintiffs,

however, that a careful reading of National Business Development belies the claim

that copyright infringement claims are subject to a special pleading standard in

this Circuit.

       National Business Development was issued in the immediate aftermath of

the Supreme Court’s ruling in Twombly, and the plaintiff in that case raised the

question — frequently debated at the time, see, e.g., Weisbarth v. Geauga Park

District, 499 F.3d 538, 541-42 (6th Cir. 2007) — whether Twombly’s

“clarifi[cation] [of] the pleading standards required by the Federal Rules of Civil

Procedure” should be limited to the antitrust context in which Twombly was

decided. See National Business Development, 299 F. App’x at 511-12. The Sixth

Circuit answered this question in the negative, reasoning that the same risk of

“abusive litigation” cited by the Supreme Court in Twombly was also present in

copyright infringement suits. 299 F. App’x at 512.1 Accordingly, the Sixth

Circuit elected to apply the Twombly standard of “greater particularity in pleading,


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        This issue was settled once and for all in Iqbal, where the Court emphasized that
its “decision in Twombly expounded the pleading standard for all civil actions.” 556 U.S.
at 684, 129 S. Ct. at 1953 (internal quotation marks and citation omitted).

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through showing plausible grounds” for relief, and it found that the plaintiff’s

pleading of “bare legal conclusions” did not satisfy this standard. National

Business Development, 299 F. App’x at 512 (internal quotation marks and citation

omitted).

      In the end, then, National Business Development applied the very same

plausibility standard articulated by the Supreme Court in Twombly and Iqbal. This

Court will do likewise here.2

B.    Plaintiffs’ Amended Complaint Lacks Sufficient Factual Allegations to
      State a Plausible Claim of Copyright Infringement.

      In the first count of their amended complaint, Plaintiffs allege that

Defendants have infringed copyrights owned and registered by Plaintiffs by

“selling vehicle control modules with infringing copies of [Plaintiffs’] software

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        To be sure, Defendants correctly note that other courts in this District have read
National Business Development as adopting a heightened pleading standard in copyright
infringement suits. See Ford Motor Co. v. Autel US Inc., No. 14-13760, 2015 WL
5729067, at *3 (E.D. Mich. Sept. 30, 2015); Masck v. Sports Illustrated, No. 13-10226,
2013 WL 2626853, at *7 (E.D. Mich. June 11, 2013); Dorchen/Martin Associates, Inc. v.
Brook of Cheboygan, Inc., 838 F. Supp.2d 607, 611 (E.D. Mich. 2012); As explained,
however, this Court does not share this view of the Sixth Circuit’s ruling. In any event,
the Court discerns little (if any) difference between the pleading requirements applied in
these district court cases and the plausibility standard set forth in Twombly and Iqbal.
See, e.g., Ford Motor Co., 2015 WL 5729067, at *3 (describing the Sixth Circuit’s
“higher pleading requirement” as demanding that a plaintiff allege “plausible grounds for
infringement” (internal quotation marks and citation omitted)); Dorchen/Martin
Associates, 838 F. Supp.2d at 611 (likewise invoking this “plausible grounds” standard).
Thus, it is not clear how much Defendants would stand to gain from the “higher” pleading
standard they advocate here.

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and other computer files loaded on them.” (Amended Complaint at ¶¶ 31, 33.)

Through the present motion, Defendants seek the dismissal of this claim of

copyright infringement under Rule 12(b)(6) for failure to state a claim upon which

relief can be granted, arguing that the allegations in support of this claim are not

sufficiently particularized to permit a plausible inference that infringement has

occurred. As discussed below, while the Court does not concur in the entirety of

Defendants’ critique of Plaintiffs’ allegations of infringement, it agrees that

Plaintiffs’ claim of copyright infringement as currently pled cannot withstand

scrutiny under the governing Twombly/Iqbal plausibility standard.

      As both sides agree, Plaintiffs must sufficiently allege two elements in order

to raise a plausible inference of copyright infringement: “ownership of a valid

copyright and copying of constituent elements of the [copyrighted] work that are

original.” Dorchen/Martin, 838 F. Supp.2d at 611 (citing Feist Publications, Inc.

v. Rural Telephone Service Co., 499 U.S. 340, 361, 111 S. Ct. 1282, 1296 (1991)).

In support of the first of these two elements, Plaintiffs allege (i) that they “own[]

copyrighted software and other computer files . . . for [their] vehicle electronic

control modules,” and (ii) that they have “registered [their] copyrights in this

material as reflected in at least” six specified certificates of registration issued by

the U.S. Copyright Office. (Amended Complaint at ¶¶ 18, 29.)

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      In challenging the sufficiency of these allegations, Defendants first contend

— and the Court agrees — that Plaintiffs’ amended complaint fails to forge any

sort of connection between its list of six copyrighted works and the control

modules installed in Plaintiffs’ vehicles. Even where the amended complaint

refers to a particular control module used in Plaintiffs’ vehicles — i.e., a

“Transmission Electro-Hydraulic Control Module or TEHCM,” (Amended

Complaint at ¶ 15) — Plaintiffs do not indicate whether one or more of the six

copyrighted works disclosed in the amended complaint are loaded onto this (or

any other) control module.

      Since Plaintiffs generally identify “software and other computer files that

run on” control modules in their vehicles as the copyrighted materials that

Defendants allegedly have infringed, (see id. at ¶¶ 16, 18), and since control

modules also are the means through which Defendants allegedly distribute

unlawful copies of Plaintiffs’ copyrighted works, (see id. at ¶¶ 31, 33), Plaintiffs

cannot satisfy their obligation to plead ownership of a valid copyright without

specifying, at a minimum, which of their six copyrighted works are installed on

control modules found in their vehicles. Otherwise, a party could plead the first

element of a claim of copyright infringement merely by citing to a laundry list of

copyright registrations secured by this party, without any effort to identify which

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of the party’s copyrighted works were involved in the defendant’s allegedly

infringing activities.3

       To the extent that Defendants suggest, however, that Plaintiffs must provide

more details as to the nature or functionality of their copyrighted works, the Court

agrees with Plaintiff that there is no support in the law for these posited pleading

requirements. While Defendants protest that Plaintiffs do not “explain what th[eir]

six copyrighted files or programs purportedly do within a GM vehicle,”

(Defendants’ Motion to Dismiss, Br. in Support at 4), Plaintiffs correctly observe

in response that such a disclosure is unnecessary because copyright law protects

expression, not functionality. Similarly, Defendants complain that the certificates

of registration attached as exhibits to Plaintiffs’ complaint “yield little

information” as to the nature or content of the copyrighted works, (id. at 5), but

such matters bearing on the copyrightability of Plaintiffs’ software need not be

addressed at the pleading stage, where “the originality and non-functionality of

[Plaintiffs’] work[s] . . . are presumptively established by the copyright



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         As Defendants observe, this concern that a plaintiff might simply cite to a laundry
list of largely or wholly irrelevant copyright registrations is especially acute here, where
Plaintiffs cited precisely the same six copyright registrations in another case brought in
this District, in support of a claim of copyright infringement that seemingly does not
involve vehicle control modules. See General Motors LLC v. Autel US Inc., Case No. 14-
14864 (E.D. Mich.), Dkt. No. 1, 12/22/2014 Complaint at ¶¶ 143-48.

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registration[s]” for these works. Lexmark International, Inc. v. Static Control

Components, Inc., 387 F.3d 522, 534 (6th Cir. 2004).

      Turning next to the second element of Plaintiffs’ claim of copyright

infringement — namely, copying of original elements of Plaintiffs’ copyrighted

works — the amended complaint endeavors to support this element in two ways.

First, Plaintiffs point to a screenshot from a website allegedly operated by

Defendant Dorman, alleging that it evidences Dorman’s sale of “TEHCM units

pre-programmed with [Plaintiffs’] software.” (Amended Complaint at ¶¶ 21-22.)

As Defendants correctly observe, however, while this screenshot states that the

module in question “come[s] pre-programmed,” (id. at ¶ 21), it does not say that

this pre-programmed material includes Plaintiffs’ software, much less Plaintiffs’

copyrighted software. Likewise, the web page’s reference to the module’s “[p]lug

and play design” might mean, as Plaintiffs allege, that the module in question is

“ready to be used immediately after installation” in a vehicle, (id. at ¶ 23), but this

alone would not support the inference that it is ready to be used because it has

been loaded with Plaintiffs’ copyrighted software. The Court agrees with

Defendants, therefore, that the allegations derived from Dorman’s website, taken

as true, do not raise a plausible inference that Defendants copied original elements

of Plaintiffs’ copyrighted works.

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      Next, Plaintiffs allege in their amended complaint that they purchased “a

sample of a module sold by Dorman, and confirmed that it has an unauthorized

copy of [Plaintiffs’] copyrighted software on it.” (Id. at ¶ 25.) As Defendants

observe, this somewhat threadbare allegation is not as helpful as it could be, where

Plaintiffs do not specify which Dorman module they purchased or what

copyrighted software they found on it. Defendants further observe that because

Dorman occasionally resells parts obtained from used vehicles, Plaintiffs’

allegation is consistent with the possibility that the copyrighted software found on

the sample Dorman module might have been installed by Plaintiffs themselves.

(See Defendants’ Reply Br. at 6.)4 Finally, Defendants contend that Plaintiffs have

failed to “describe[] the manner in which [Dorman’s module] infringed upon”

Plaintiffs’ copyrighted work, as necessary to “adequately give Defendants notice

of the claim against them.” Dorchen/Martin Associates, 838 F. Supp.2d at 612.

      While the Court certainly agrees that Plaintiffs’ terse allegation of allegedly

infringing material found on a sample Dorman module does not supply a wealth of

information with which Defendants can contest Plaintiffs’ claim of copyright

infringement, it nonetheless concludes that this allegation suffices, albeit only


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        In this event, Defendants point out that Dorman would be shielded from liability
by the “first sale” doctrine. See Kirtsaeng v. John Wiley & Sons, Inc., 133 S. Ct. 1351,
1354-55 (2013) (citing 17 U.S.C. § 109(a)).

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barely, to carry the “copying” element of Plaintiffs’ claim over the line of

plausibility. Plaintiffs’ alleged discovery of their copyrighted material on a

module sold by Dorman would permit an inference of copying, and Plaintiff need

not plead around a possible defense that Defendants did not cause this copyrighted

material to be loaded onto the Dorman module. In addition, Defendants can

quickly learn through a modicum of discovery such details as the type of Dorman

module Plaintiffs purchased and the precise copyrighted material they allegedly

found on it, and Defendants fail to explain how Plaintiffs’ claim might rise or fall

with the disclosure of this additional information. As for Defendants’ protests that

Plaintiffs have not identified the precise manner of Defendants’ alleged

infringement or the specific original elements of Plaintiffs’ copyrighted software

that Defendants are alleged to have copied, the Court agrees with Plaintiffs that

the absence of such details does not threaten the viability of Plaintiffs’ claim of

copyright infringement, in light of Plaintiffs’ assertion that the software found on

Dorman’s module is a “verbatim copy” and “complete duplicate” of Plaintiffs’

copyrighted work. (Plaintiffs’ Response Br. at 8.)5


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        The Court acknowledges Defendants’ point in their reply brief that Plaintiffs’
amended complaint lacks any such allegations that Defendants made “verbatim” copies of
Plaintiffs’ copyrighted works. Rather, Plaintiffs offer this assertion only in their response
to Defendants’ present motion. As stated immediately below, however, Plaintiffs will be
granted leave to amend their complaint to cure other deficiencies in the pleading of their

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       In sum, the allegations of Plaintiffs’ amended complaint are sufficient to

support a plausible finding in their favor as to one, but not both, of the elements of

a claim of copyright infringement. It follows that this claim as presently pled is

subject to dismissal. Nonetheless, it is the Court’s usual practice to permit a

plaintiff to amend its pleading in an effort to cure the deficiencies identified in a

defendant’s Rule 12(b)(6) motion to dismiss, provided that this effort would not be

futile. Plaintiffs have requested such an opportunity here, and Defendants suggest

no reason to believe that Plaintiffs will be unable to overcome the pleading

deficiencies in their present complaint. Accordingly, the Court grants leave for

Plaintiffs to amend their complaint to address the deficiencies identified in the

present opinion and order concerning their claim of copyright infringement.

C.     Plaintiffs Have Failed to Allege a Viable Claim under the DMCA.

       In count II of their amended complaint, Plaintiffs assert a claim against

Defendants under the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. §




claim of copyright infringement, so this will afford them an opportunity to address this
discrepancy as well.

       It also is worth noting that Plaintiffs’ allegation as to their discovery of a Dorman
module with Plaintiffs’ copyrighted software on it does nothing to support their claim of
copyright infringement against co-Defendant ERC. Again, Plaintiffs will have an
opportunity to cure this deficiency, if possible, upon accepting the Court’s invitation to
amend their complaint.

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1201 et seq. More specifically, Plaintiffs charge Defendants with violating a

DMCA provision that prohibits the “circumvent[ion] [of] a technological measure

that effectively controls access to a work protected under” federal copyright law.

17 U.S.C. § 1201(a)(1)(A). While Defendants fault Plaintiffs for failing to (i)

specifically identify the copyrighted works that they allegedly accessed, (ii)

expressly allege that these works were protected by copyright law at the time of

this access, or (iii) specify the precise technological measures that Defendants

allegedly circumvented, Defendants also contend that the technological measures

cited in Plaintiffs’ amended complaint appear to limit access to Plaintiffs’ control

modules, and not their copyrighted software. The Court agrees that this latter

deficiency defeats Plaintiffs’ DMCA claim as presently pled.

      In support of their claim under the DMCA, Plaintiffs begin with the general

allegation that they “utilize a variety of security measures to control access to and

copying of [their] copyrighted computer programs.” (Amended Complaint at ¶

39.) Plaintiffs then state more specifically that their “vehicle control modules . . .

each include a software-based lock to prevent unauthorized programming of the

modules,” thereby ensuring that “only authorized users can access the modules for

programming and re-programming.” (Id. at ¶ 40.) According to Plaintiffs, it is

Defendants’ circumvention of this specific security measure that gives rise to their

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claim under the DMCA:

              On information and belief, at least ERC and possibly both of
       the Defendants are defeating this security measure and accessing the
       modules in order to program them with unauthorized copies of
       [Plaintiffs’] copyrighted vehicle control software and related files. In
       other words, Defendants are starting with copies of [Plaintiffs’]
       software, where the copies may be unauthorized, and making
       unauthorized copies of the software on the modules.

(Id. at ¶ 42.)

       The Court agrees with Defendants that these allegations are insufficient to

state a viable claim under the DMCA. As Plaintiffs themselves allege in their

complaint, Defendants “start[ed] with” (possibly) unauthorized copies of

Plaintiffs’ copyrighted software, and then were able, through their circumvention

of Plaintiffs’ security measures, to gain access to Plaintiffs’ vehicle control

modules “in order to program them with unauthorized copies of” Plaintiffs’

software. (Id. at ¶ 42.) Defendants’ alleged circumvention of Plaintiffs’ security

measures, in other words, allowed Defendants to gain access to control modules

in order to program them with allegedly unauthorized copies of Plaintiffs’

copyrighted works; it did not enable Defendants to obtain copies of these

copyrighted works in the first instance. Rather, Plaintiffs expressly allege that

Defendants “start[ed]” with copies of these copyrighted works, and then loaded

these copies onto control modules by circumventing security measures that were

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designed to control “access to the vehicle control module[s].” (Id. at ¶¶ 42-43

(emphasis added).)

      The plain language of the DMCA provision cited in Plaintiffs’ amended

complaint prohibits the circumvention of technological measures that “effectively

control[] access to a work protected under” copyright law. 17 U.S.C. §

1201(a)(1)(A). Here, in contrast, Plaintiffs allege that Defendants circumvented a

technological measure that controls access to vehicle control modules, and not the

copyrighted software that Plaintiff loads onto these modules. Consequently, count

II of Plaintiffs’ amended complaint as presently pled does not state a claim for

relief under the DMCA. Once again, however, Plaintiffs are granted leave to

amend their complaint in order to cure this deficiency.

                               IV. CONCLUSION

      For the reasons set forth above,

      NOW, THEREFORE, IT IS HEREBY ORDERED that Defendants’

December 21, 2015 motion to dismiss Plaintiffs’ amended complaint (docket #10)

is GRANTED IN PART, in accordance with the rulings in this opinion and order.




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IT IS FURTHER ORDERED that within twenty-one (21) days of the date of this

opinion and order, Plaintiffs may file and serve a second amended complaint that

addresses the pleading deficiencies identified in the Court’s ruling.


                                       s/Gerald E. Rosen
                                       United States District Judge

Dated: September 30, 2016

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on September 30, 2016, by electronic and/or ordinary
mail.

                   s/Julie Owens
                   Case Manager, (313) 234-5135




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